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7                                  UNITED STATES DISTRICT COURT

8                                SOUTHERN DISTRICT OF CALIFORNIA

9
                                                            Case No.: 21CV646-W(BLM)
10   VICTOR DALFIO,

11                                         Plaintiff,       ORDER GRANTING JOINT MOTION TO
                                                            CONTINUE DEADLINE TO FILE JOINT
12   v.                                                     MOTION FOR DISMISSAL AND
                                                            SETTLEMENT DISPOSITION
13   WALMART INC. AND DOES 1-10,
                                                            CONFERENCE
14                                      Defendant.
                                                            [22]
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18         On July 19, 2021, the parties filed a Joint Notice of Settlement stating that “a confidential
19   settlement has been reached in the above-captioned case.” ECF No. 20. That same day, the
20   Court issued an Order Confirming Settlement and Setting Deadline to File Joint Motion for
21   Dismissal. ECF No. 21. The Court ordered the parties to file their joint motion for dismissal of
22   this case no later than September 7, 2021 and stated that if the parties failed to do so, all
23   counsel of record and unrepresented parties would be required to appear in person for a
24   Settlement Disposition Conference on September 14, 2021. Id.
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           On September 9, 2021, the parties filed a Joint Motion to Continue Deadline to File Joint
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     Motion for Dismissal and Settlement Disposition Conference. ECF No. 22. The parties seek to
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     continue the deadline for filing a joint motion for dismissal to September 30, 2021. Id. at 1.
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                                                                                        21CV646-W(BLM)
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1           The parties’ motion is GRANTED as follows. The parties are ordered to file their joint

2    motion for dismissal of this case, signed by counsel of record and any unrepresented parties, no

3    later than September 30, 2021. A proposed order on the joint motion for dismissal must be

4    e-mailed to the district judge's chambers 1 on the same day. If the signed joint motion for

5    dismissal is timely filed, the parties and attorneys are not required to make any further

6    appearances before Judge Major.

7           If the fully executed joint motion for dismissal is not filed by September 30, 2021, then

8    all counsel of record and unrepresented parties are required to appear in person for a Settlement

9    Disposition Conference. The Settlement Disposition Conference will be held on October 7,
10   2021 at 9:30 a.m. in Courtroom 4C.

11          If counsel of record or any unrepresented party fails to appear at the Settlement

12   Disposition Conference, or the parties fail to file the signed joint motion for dismissal in a timely

13   manner, the Court will issue an order to show cause why sanctions should not be imposed for

14   failing to comply with this Order.

15          IT IS SO ORDERED.

16   Dated: 9/10/2021

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27   1 The proposed order shall be e-mailed pursuant to section 2(h) of the United States District
     Court for the Southern District of California's Electronic Case Filing Administrative Policies and
28   Procedures Manual, available at www.casd.uscourts.gov.

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                                                                                          21CV646-W(BLM)
